                        Case 4:18-cr-00538-KGB Document 413 Filed 10/22/21 Page 1 of 6
AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet I



                                            UNITED STATES DISTRICT COURT                                                     OCT 22 2021
                                                           Eastern District of Arkansas                            :AMMV H, ~~
              UNITED STATES OF AMERICA                                -·    ~     - JUDGMENT IN A ~INAL CASE                                  DE CLERK
                                   v.                                       )
                        CHERRIE DAVIS                                       )
                                                                            )       Case Number: 4:18-cr-00538-06 KGB
                                                                            )       USM Number: 32269-009
                                                                            )
                                                                            )          J. BROOKS WIGGINS
                                                                            )       Defendant's Attorney
                                                                                   ✓

THE DEFENDANT:
~ pleaded guilty to count(s)            1
                                    -----------------------------------
• pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                          Offense Ended
18 U.S.C. §§ 1349 and             Conspiracy to Commit Wire Fraud, a Class C Felony                           8/31/2017              1
1343



       The defendant is sentenced as provided in pages 2 through           _ _6__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)

D Count(s)                                              D is      Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 da)'s of any chan_ge of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenclant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                            10/22/2021
                                                                           Date of Imposition of Judgment




                                                                           SignatureoJudge




                                                                           Kristine G. Baker, United States District Judge
                                                                           Name and Title of Judge




                                                                           Date
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AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 4--Probation
                                                                                                                      2_ of
                                                                                                      Judgment-Page _ _                 6
 DEFENDANT: CHERRIE DAVIS
 CASE NUMBER: 4:18-cr-00538-06 KGB
                                                             PROBATION

 You are hereby sentenced to probation for a term of:
      Three (3) years.




                                                     MANDATORY CONDITIONS
 I.  You must not commit another federal, state or local crime.
 2.  You must not unlawfully possess a controlled substance.
 3.  You must refrain from any unlawful use ofa controlled substance. You must submit to one drug test within 15 days of placement on
     probation and at least two periodic drug tests thereafter, as determined by the court.
            D The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                substance abuse. {check if applicable)
 4.   ~ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 5.   D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.)
          as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
          reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 6.   D You must participate in an approved program for domestic violence. {check if applicable)
 7.   ~ You must make restitution in accordance with 18 U.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (check if applicable)
 8. You must pay the assessment imposed in accordance with 18 U.S.C. § 3013.
 9. If this judgment imposes a fine, you must pay in accordance with the Schedule of Payments sheet of this judgment.
 10. You must notify the court of any material change in your economic circumstances that might affect your ability to pay restitution,
     fines, or special assessments.


 You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
 page.
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                       Sheet 4A - Probation
                                                                                                   Judgment-Page   --=3__        of   --~6~--
DEFENDANT: CHERRIE DAVIS
CASE NUMBER: 4:18-cr-00538-06 KGB

                                        STANDARD CONDITIONS OF SUPERVISION
As part of your probation, you must comply with the following standard conditions of supervision. These conditions are imposed because
they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers
to keep informed, report to the court about, and bring about improvements in your conduct and condition.

I.     You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of the time
       you were sentenced, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2.     After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
       when you must report to the probation officer, and you must report to the probation officer as instructed.
3.     You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
       court or the probation officer.
4.     You must answer truthfully the questions asked by your probation officer.
5.     You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with}, you must.notify the probation officer at least IO days before the change. If notifying
       the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
       hours of becoming aware ofa change or expected change.
6.     You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
       take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.     You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
       doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
       you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
       responsibilities), you must notify the probation officer at least IO days before the change. If notifying the probation officer at least IO··.-
       days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
       becoming aware of a change or expected change.
8.     You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
       convicted ofa felony, you must not knowingly communicate or interact with that person without first getting the permission of the
       probation officer.
9.     If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
I 0.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
       designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
l1.    You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
       first getting the permission of the court.
12.    If the probation officer determines that you pose a risk to another person (including an organization}, the probation officer may
       require you to notify the person about the risk.and you must comply with that instruction. The probation officer may contact the
       person and confirm that you have notified the person about the risk.
13.    You n_mst follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only
A U.S. probation _officer has instructed me on the conditions specified by" the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                       Date
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AO 2458 (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 4D- Probation
                                                                                             Judgment-Page    4     of ·_ _6_ _
DEFENDANT: CHERRIE DAVIS
CASE NUMBER: 4:18-cr-00538-06 KGB

                                          SPECIAL CONDITIONS OF SUPERVISION
 The defendant must participate, under the guidance and supervision of the probation office, in a substance abuse
 treatment program which may include drug and alcohol testing, outpatient counseling, and residential treatment. Further,
 she must abstain from the use of alcohol throughout the course of treatment. She shall pay for the cost of treatment at the
 rate of $10 per session, with the total cost not to exceed $40 per month, based on ability to pay as determined by the
 probation office. If she is financially unable to pay for the cost of treatment, the co-pay requirement will be waived.

 The defendant must participate in a mental health assessment and then if warranted based on that assessment, she must
 participate, under the guidance and supervision of the probation office, in a mental health treatment program. She shall
 pay for the cost of treatment at the rate of $10 per session, with the total cost not to exceed $40 per month, based on
 ability to pay as determined by the probation office. If she is financially unable to pay for the cost of treatment, the co-pay
 requirement will be waived.

 The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation
 officer unless all criminal penalties have been satisfied.

 The defendant must provide the probation officer with access to any requested financial information and authorize the
 release of any financial information until all criminal penalties have been satisfied. The probation office may share financial
 information with the United States Attorney's Office.
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AO 2458 (Rev. 09/19)    Judgment in a Criminal Case
                        Sheet 5 - Criminal Monetary Penalties
                                                                                                             Judgment - Page     5      of        6
 DEFENDANT: CHERRIE DAVIS
 CASE NUMBER: 4: 18-cr-00538-06 KGB
                                                 CRIMINAL MONETARY PENALTIES
        The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                        Assessment             Restitution                    Fine                   AVAA Assessment*            JVT A Assessment**
 TOTALS              $ 100.00                $ 7,244.00                  $ 0.00                     $ 0.00                     $ 0.00



 D      The determination of restitution is deferred until                           An Amended Judgment in a Criminal Case {AO 245C) will be
                                                                - - - - -.
        entered after such determination.

 ~ The defendant must make restitution (includin~ community restitution) to the following payees in the amount listed below.

        If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
        the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i}, all nonfederal victims must be paid
        before the United States is paid.

 Name of Payee                                                    Total Loss***                     Restitution Ordered        Priority or Percentage
   Minnesota Unemployment                                                                                      $7,244.00

   Insurance Program

   332 Minnesota Street, Suite E200

   St. Paul, Minnesota 55101

  Attn: Cashier's Office

   Re: Claim 06323701/Cherrie Davis (2649)




 TOTALS                                $                          0.00                $                 -7,244.00
                                                                                          ----------

 liZl    Restitution amount ordered pursuant to plea agreement $               7,244.00
                                                                              -~--------
 D       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
         fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
         to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 liZ]    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

         Ill   the interest requirement is waived for the         D    fine     liZ] restitution.
         D the interest requirement for the          D     fine       D restitution is modified as follows:

 * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 *** Findings for the total amount oflosses are required under Chapters 109A, 110, l JOA, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23, 1996.                                           .
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AO 245B (Rev .. 09/19)   Judgment in a Criminal Case
                         Sheet 6 - Schedule of Payments

                                                                                                              Judgment- Page   -~6-   of     6
 DEFENDANT: CHERRIE DAVIS
 CASE NUMBER: 4:18-cr-00538-06 KGB

                                                          SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     It] Lump sum payment of$              100.00
                                           --'---=-=--=-=-----
                                                                 due immediately, balance due

              D     not later than                                   , or
              •     in accordance with     •    C,    •    D,    D    E,or    Ill   F below; or

 B     D      Payment to begin immediately (may be combined with             DC,        D D, or     D F below); or

 C     D      Payment in equal       ______ (e.g., weekly, monthly, quarterly) installments of $ _ _ _ over a period of
                             (e.g., months or years), to commence _ _ _ _ _ (e.g., 30 or 60 days) after the date of this judgment; or

 D     D      Payment in equal     _ _ _ _ _ (e.g., weekly, monthly1 quarterly) installments of $ _ _ _ over a period of
                              (e.g., months or years), to commence
                                                              _ _ _ _ _ (e.g., 30 or 60 days) after release from imprisonment to a
              term of supervision; or

 E     D      Payment during the term of supervised release will commence within _ _ _ _ _ (e.g., 30 or 60 days) after release from
              imprisonment. The court.will set the p_ayment plan based on an assessment of the defendant's ability to pay at that time; or

 Jc    !ill   Special instructions regarding the payment of criminal monetary penalties:
               Beginning the first month of supervised release, payments will be ten percent per month of her monthly gross
               income.




 Unless the court has expressly ordered otherwise; if th is judgment imposes imprisonment, payment of criminal monetary penalties is due during
 the period of imprisonment. All criminal monetary penafiies, except those.payments made through the Federal Bureau of Prisons' Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all_ payments pfeviously- made toward any criminal monetary penalties imposed.




 D     Joint and Several

       Case Number
       Defendant and Co-Defendant Names                                                   Joint and Several               Corresponding Payee,
       (including defendant number)                         . Tptal Amount                     Amount                         if appropriate




 •     The defendant shall pay"the cost _o.fprosecution.

 D     The defendant shall pay the following coµrt cost(s):

 D     The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be a_pplied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
 (5J fine principal, (b) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
 prosecution and court costs.                 : ·. -          ·-,   ·_ - . ,_ · .       · ·       ·
